Case 2:05-cr-81165-SFC-EAS ECF No. 152, PagelD.764 Filed 10/18/24 Page 1of4

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION
United States of America,
Plaintiff, Case No. 05-cr-81165

Hon. Sean F. Cox
Vv.

Khaophone Sychantha,

Defendant.
/

VERDICT FORM

We, the jury, unanimously find the following:

COUNT ONE

Question 1: With respect to the charge in Count One of the indictment
which charges the defendant with conspiracy to possess with intent to
distribute or to distribute a controlled substance, we the jury find the
defendant:

Not Guilty SO Guilty

If you answered Guilty in response to Question 1, proceed to Question
1.a. If you answered Not Guilty in response to Question 1, proceed to
Count 2.

Page 1 of 4
Case 2:05-cr-81165-SFC-EAS ECF No. 152, PagelD.765 Filed 10/18/24 Page 2 of 4

Question la: With respect to Count One, did the offense involve at least
500 grams of a substance containing a detectable amount of
methamphetamine?

SL Yes No

If you answered Yes to Question Ia, then skip Question 1b and proceed
to Question Ic. If you answered No to Question 1a, then proceed to
Question 1b.

Question 1b: With respect to Count One, did the offense involve at least
50 but not more than 500 grams of a substance containing a detectable
amount of methamphetamine?

Yes No
Regardless of your answer, proceed to Question Ic.

Question le: With respect to Count One, did the offense involve at least
5 grams of pure methamphetamine?

SL Yes _ No
Proceed to Count Two.

COUNT TWO

Question 2: With respect to the charge in Count Two of the indictment,
which charges the defendant with possession with intent to distribute a
controlled substance, we the jury find the defendant:

Not Guilty \ Guilty

Proceed to Count Three.

Page 2 of 4
Case 2:05-cr-81165-SFC-EAS ECF No. 152, PagelD.766 Filed 10/18/24 Page 3 of 4

COUNT THREE

Question 3: With respect to the charge in Count Three of the
indictment, which charges the defendant with possession with intent to
distribute a controlled substance, we the jury find the defendant:

Not Guilty Guilty

If you answered Guilty in response to Question 3, proceed to Question 8a.

Question 3a.: With respect to Count Three, did the offense involve at
least 500 grams of a substance containing a detectable amount of

Ys
_V Yes ___—No

If you answered Yes to Question 3a, skip Question 8b and proceed to
Question 3c. If you answered No to Question 3a, proceed to Question 3b.

Question 3b.: With respect to Count Three, did the offense involve at
least 50 but not more than 500 grams of a substance containing a
detectable amount of methamphetamine?

Yes No
Regardless of your answer, proceed to Question 8c.

Question 3c: With respect to Count Three, did the offense involve at

“_ of pure methamphetamine?
Yes No

Page 3 of 4
Case 2:05-cr-81165-SFC-EAS ECF No. 152, PagelD.767 Filed 10/18/24 Page 4 of 4

s/Jury Foreperson
In compliance with the Privacy Policy adopted by the

Judicial Conference, the verdict form with the original
signature has been filed under seal.

(- 1€- 2y

Date

Page 4 of 4
